
703 S.E.2d 442 (2010)
CROOK
v.
KRC MANAGEMENT CORP., et al.
No. 387P10.
Supreme Court of North Carolina.
November 4, 2010.
Joseph S. Dowdy, Raleigh, for KRC Management Corporation, et al.
Jodee Sparkman Larcade, Theodore B. Smyth, Raleigh, for Donna W. Crook, et al.
Charles H. Mercer, Jr.
Prior report: ___ N.C.App. ___, 697 S.E.2d 449.
The following order has been entered on the motion filed on the 7th of September 2010 by Plaintiffs for Temporary Stay:
"Motion Dissolved by order of the Court in conference this the 4th of November 2010."
